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                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF MINNESOTA


Brook Mallak,                                                   Court File No. 13-cv-2119 (DWF/LIB)

                          Plaintiff,

        v.                                                      ORDER

Aitkin County, et al.,

                          Defendants.


        This matter is before the undersigned United States Magistrate Judge pursuant to a

general assignment made in accordance with the provisions of 28 U.S.C. § 636(b)(1)(A), upon

Plaintiff’s Motion to Compel, [Docket No. 239]; the City Defendants 1 and the Appealing

Defendants’ 2 Motion for Protective Order to Stay, [Docket No. 242]; the County Defendants’ 3

Motion to Sever and/or Stay, and for a Protective Order, [Docket No. 256]; and the remaining

Individual Defendants’ 4 Motion to Sever and/or for a Protective Order to Stay, [Docket No.

263]. The Court held a motions hearing on September 3, 2015, and the Court took the parties’

motions under advisement.

        For reasons discussed herein, the Court will DENY Plaintiff’s Motion to Compel,

[Docket No. 239]; GRANT in part and DENY in part the City and Appealing Defendants’


1
 The City Defendants include Defendants City of Staples, City of St. Cloud, City of Brainerd, and City of Fridley
(hereinafter the “City Defendants”).
2
 The Appealing Defendants include individual Defendants city employees Anthony Runde, Perry Jones, David
Darling, and Ryan Goff (hereinafter the “Appealing Defendants”).
3
  The County Defendants include Cass County, Crow Wing County, and Central Minnesota Community Corrections
(hereinafter the “County Defendants”).
4
  The remaining individual Defendants include county employees Tyler Burke, Amy Edberg, Gary Guttenkauf,
Ginger Heurung, Derek Lavoy, Ilissa Ramm, Michael Triplett, Kari Turcotte, Jon Vukelich, Ryan Barnett, Shannon
Wussow, Christine Madsen, Colleen Berens, Laura Johnson, Down Choinard, Deb Nelson, and Joan Smith
(hereinafter the “Individual Defendants”).
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Motion for a Protective Order to Stay, [Docket No. 242]; GRANT in part and DENY in part

the County Defendants’ Motion to Sever and/or Stay, and for a Protective Order, [Docket No.

256]; and DENY the Individual Defendants’ Motion to Sever and/or for a Protective Order to

Stay, [Docket No. 263].

   I.      BACKGROUND AND STATEMENT OF RELEVANT FACTS

        The present action arises out of alleged violations of the Driver’s Privacy Protection Act

(“DPPA”), 18 U.S.C. § 2721, et seq. Plaintiff Brook Mallak (“Plaintiff”) initiated the present

case on or about August 5, 2013. (Compl. [Docket No. 1], ¶ 1), alleging that then-named

Defendants had accessed her driver’s license information between 2003 and 2012 without legal

authorization to do so. (Id. ¶ 2, Ex. A).

        In her initial Complaint, Plaintiff pled one count of a violation of the DPPA against all

then-named Defendants; one count of a violation of 42 U.S.C. § 1983 against all individual,

publicly-employed John and Jane Doe Defendants acting under the color of state and/or federal

law; one count of a violation of 42 U.S.C. § 1983 against all then-named public entity

Defendants; one count of a violation of 42 U.S.C. § 1983 against the Commissioner Defendants

and Department of Public Safety (“DPS”) Doe Defendants; one count of a violation of 42 U.S.C.

§ 1983 against DPS Commissioner Ramona Dohman; and one count of common law invasion of

privacy against all then-named Defendants. (Id. at Counts I-VI).

        On March 31, 2014, the Honorable Donovan W. Frank, United States District Judge for

the District of Minnesota, issued a Memorandum Opinion and Order in the present case

addressing various motions to dismiss, motions for summary judgment, and motions to sever

brought by the various then-named Defendants. (Memorandum Opinion and Order [Docket No.

89], at 2-3). Judge Frank dismissed (1) Plaintiff’s claims against the DPS Commissioners and the

DPS Doe Defendants; (2) Plaintiff’s section 1983 claims; (3) Plaintiff’s invasion of privacy
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claims; and (4) all DPPA claims derived from accesses alleged to have occurred more than four

years prior the filing of the present case. (Id. at 41-43).

        On June 30, 2014, Plaintiff served written discovery on the then-remaining Defendants,

requesting the identities of the individuals responsible for the alleged accesses and the reason,

purpose, and factual circumstances surrounding each access. (See March 4, 2015, Order, [Docket

No. 193], 3). Receipt of the requested discovery information prompted Plaintiff to move the

Court for leave to file an amended complaint. On October 30, 2014, the Undersigned granted

Plaintiff leave to file an amended complaint that incorporated the names of the following

individual Defendants: Chad Visser; Julie McCollough, Corky McQuiston, Joel Reed, Anthony

Runde, Perry Jones, David Darling, Tyler Burke, Amy Edberg, Ryan Goff, Gary Gutenkauf,

Ginger Heurung, Derek Lavoy, Illissa Ramm, Michael Triplett, Karri Turcotte, and Jon

Vukelich. (See gen., October 30, 2014, Order, [Docket No. 166]).

        Following the filing of her First Amended Complaint, [Docket No. 167]), Plaintiff served

a subpoena on the Department of Public Safety requesting identification of all individuals who

had obtained Plaintiff’s data from the Minnesota Driver and Vehicle Services (“DVS”) database

within four years of the filing of the Complaint. (Strauss Aff. [Docket No. 150], ¶ 5). The DPS

responded to the subpoena on October 30, 2014, (Strauss Aff. [Docket No. 181], ¶ 19). Plaintiff

then moved the Court for leave to file a second amended complaint, in which she proposed

identifying additional previously named Doe defendants, and joining claims against three new

defendants. (See gen., Pl.’s Motion for Leave to File Second Amended Complaint, [Docket No.

177]). On March 4, 2015, the Undersigned granted Plaintiff leave to file a second amended

complaint, which incorporated the names of the following then-newly identified Defendants:

Central Minnesota Community Corrections (“CMCC”); Deb Nelson; Ryan Barnett; Dawn



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Chouinard; Shannon Wussow; Colleen Berens; Laura Johnson; Lori Lucas; Christine Madsen,

and Joan Smith. (See gen., March 4, 2015, Order, [Docket No. 193]).

           On March 19, 2015, one day after Plaintiff filed her Second Amended Complaint,

[Docket No. 195], Judge Frank issued a Memorandum Opinion and Order, [Docket No. 199], in

which he ruled on a motion for summary judgment brought by Defendants City of Baxter, City

of Brainerd, City of Fridley, City of Little Falls, City of St. Cloud, and City of Staples,

concerning accesses of Plaintiff’s information by their respective employees, individual

Defendants Visser, Runde, McQuiston, McCullough, Reed, Jones, Darling, and Goff. (See gen.,

Id.). In pertinent part, Judge Frank held that Defendants Visser, McQuiston, McCullough, and

Reed were entitled to qualified immunity for their challenged actions and granted summary

judgment in favor of those individual Defendants as well as Defendant City of Baxter. (Id. at 14-

18). Judge Frank held, however, that genuine issues of material fact existed with regard to

individual Defendants Runde, Jones, Darling, and Goff, and denied the motion for summary

judgment as to those individual Defendants. (Id. at 17-18).

           On April 17, 2015, Defendants Runde, Jones, Darling, and Goff, the Appealing

Defendants, filed an interlocutory appeal regarding the denial of summary judgment on the basis

of qualified immunity (the “Interlocutory Appeal”). (See Notices of Appeal, [Docket No. 206,

207]). The Interlocutory Appeal is still in the briefing phase. (City Defs and Appealing Defs’

Memorandum in Support of Motion for Protective Order to Stay, [Docket No. 244]).

           There are two aspects of the parties’ subsequent discovery efforts that are relevant to the

motions presently before the Court. The first concerns responses to discovery requests Plaintiff

served on the City Defendants who had employed the Appealing Defendants. 5 The second


5
    The Cities of Baxter and Little Falls have since been dismissed from the present case.


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concerns the scheduling of Rule 30(b)(6) depositions of two deponents designated by Defendant

Crow Wing County.

   A. City Defendants’ Discovery Responses

       On June 26, 2015, Plaintiff served written discovery requests on various Defendants,

including the City Defendants, Crow Wing County, CCMC, and the Individual Defendants.

(Miller-Van Oort Affidavit, [Docket No. 267], ¶ 3). On July 9, 2015, counsel for the City

Defendants sent Plaintiff a letter indicating that he did not believe that discovery was appropriate

as to the City Defendants or the Appealing Defendants in light of the pendent Interlocutory

Appeal, and because Plaintiff had not alleged independent claims against the City Defendants.

(Id. at ¶ 7). The responses of the City Defendants were due on July 26, 2015. (Id. at ¶ 4). The

City Defendants have not provided responses to Plaintiff’s discovery requests. (Id. at ¶ 8). On

July 28, 2015, counsel for the City Defendants indicated to Plaintiff’s counsel in an email that

Plaintiff should bring a discovery motion regarding her position regarding the City Defendants’

responses to Plaintiff’s discovery requests. (Id. at ¶ 10).

       On August 5, 2015, Plaintiff brought the present Motion to Compel, [Docket No. 239].

On August 6, 2015, the City Defendants and the Appealing Defendants brought the present

Motion for a Protective Order to Stay Discovery, [Docket No. 242].

   B. Rule 30(b)deposition

       On July 30, 2015, Plaintiff circulated an email with proposed dates for depositions of

several defendants, including Crow Wing County and the City Defendants, in pertinent part

proposing an August 28, 2015, date for the depositions of the Crow Wing County’s designated

Rule 30(b)(6) deponents. (Miller-Van Oort Affidavit, [Docket No. 275], ¶¶ 6-7). Plaintiff did not

receive a response from counsel for Defendant Crow Wing County or counsel for the Individual



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Defendants by August 6, 2016. (Id. at ¶ 7). On August 6, 2015, counsel for the City Defendants

told counsel for Plaintiffs that the City Defendants would not be available for deposition until

late September or October. (Id. at ¶ 8). On August 14, 2015, Counsel for Crow Wing County

took the position that the depositions of the Crow Wing County deponents should take place in

Crow Wing County. (Id. at ¶ 18).

          On August 19, 2015, counsel for Crow Wing County designated County Attorney Don

Ryan and Ms. Tina Elder as its Rule 30(b)(6) deponents. (Id. at ¶ 10).

          On August 20, 2015, the County Defendants filed the present Motion to Sever and/or

Stay, and for a Protective Order, [Docket No. 256]. On that same date, the remaining Individual

Defendants filed the present Motion to Sever and/or for a Protective Order to Stay Discovery,

[Docket No. 263].

          On August 27, 2015, counsel for Plaintiff offered to the take the Crow Wing County

depositions in Baxter, Minnesota, on September 8, 2015.

    II.      PLAINTIFF’S MOTION TO COMPEL, [Docket No. 239]

          As initially drafted, Plaintiff’s motion asked the Court for an Order compelling both the

City and Appealing Defendants to respond to discovery requests that Plaintiff had served on

them. Plaintiff also asks the Court to grant her an award of attorneys’ fees for the cost of

bringing the motion to compel.

          As a threshold matter, the City and Appealing Defendants assert, and Plaintiff’s counsel

at the motions hearing acknowledged, that this Court does not have jurisdiction over Plaintiff’s

motions for discovery against the Appealing Defendants during the pendency of their

Interlocutory Appeal. 6 (See September 3, 2015, Motions Hearing, Digital Recording at 1:48:10


6
  “[A] federal district court and a federal court of appeals should not attempt to assert jurisdiction over a case
simultaneously. The filing of a notice of appeal is an event of jurisdictional significance—it confers jurisdiction on

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p.m.). Accordingly, the Court will DENY Plaintiff’s Motion to Compel, [Docket No. 239], to the

extent Plaintiff asks the Court to compel discovery responses from the Appealing Defendants.

         The remaining issue with regard to Plaintiff’s motion is whether the Court should

nevertheless compel the City Defendants to provide their discovery responses during the

pendency of the Interlocutory Appeal. The City Defendants argue that Plaintiff’s claims against

them are based solely on the instances of access by the Appealing Defendants and a theory of

vicarious liability for the acts of their employees. As such, the City Defendants argue that

Plaintiff’s claims against them are entwined with the claims at issue in the Interlocutory Appeal,

and the preclusion on discovery regarding the claims against the Appealing Defendants should

similarly preclude discovery regarding Plaintiff’s claims against the City Defendants. Plaintiff

argues that, even there is qualified immunity for the Appealing Defendants, qualified immunity

is inapplicable to municipalities, and she still has a direct claim against the City Defendants on

which she may pursue discovery.

         In pertinent part, 18 U.S.C. § 2724(a) sets forth:

         (a) Cause of action.--A person who knowingly obtains, discloses or uses personal
         information, from a motor vehicle record, for a purpose not permitted under this
         chapter shall be liable to the individual to whom the information pertains, who
         may bring a civil action in a United States district court.




the court of appeals and divests the district court of its control over those aspects of the case involved in the appeal.”
United States v. Ledbetter, 882 F.2d 1345, 1347 (8th Cir. 1989) (quoting Griggs v. Provident Consumer Discount
Co., 459 U.S. 56, 58 (1982)) (emphasis added). “Once a notice of appeal has been filed in a case in which there has
been denial of a summary judgment motion raising the issue of qualified immunity, the district court should then
stay its hand. Jurisdiction has been vested in the court of appeals and the district court should not act further.”
Johnson v. Hay, 931 F.2d 456, 459 n.2 (8th Cir. 1991). “[T]he purpose of qualified immunity is to protect
government officials from the burdens of litigation and […] discovery is one such major burden. The implication is
that, though the qualified immunity issue is not conclusively determined, the officials will have nonetheless lost one
of the major benefits of qualified immunity.” Washington v. Blunt, 384 F. App'x 529, 531 (8th Cir. 2010) (citing
Behrens v. Pelletier, 516 U.S. 299, 308 (1996)). “Until this threshold immunity question is resolved, discovery
should not be allowed.” Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982).


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       In pertinent part, 18 U.S.C. § 2725, defines a “person” for purposes of the DPPA as “an

individual, organization or entity, but does not include a State or agency thereof[.]”

       The text of the DPPA authorizes a direct claim against an entity defendant. However, at

the motions hearing, Plaintiff’s counsel acknowledged that a municipal entity cannot act except

through the actions of its employees. (See September 3, 2015, Motions Hearing, Digital

Recording at 2:20:20 p.m.). Accordingly, it appears that Plaintiff’s claims against the City

Defendants are based, at least in part, on the instances of access by the Appealing Defendants.

       There are only a handful of cases nationwide that have expressly addressed the basis for

imposing liability under the DPPA on a municipality for the acts of its employee. Of those cases,

courts from other jurisdictions which have expressly addressed the issue have consistently held

that a municipality’s liability arises from a theory of vicarious liability for which liability may be

imposed on the municipality solely for the acts of the employee, rather than a theory similar to a

Monell section 1983 claim in which the municipality must itself bear some independent

responsibility for causing the unlawful activity. See Santarlas v. Minner, No. 5:15-CV-103-OC-

30PRL, 2015 WL 3852981, at *4 (M.D. Fla. June 22, 2015) (analyzing DPPA claim against

municipal defendant using vicarious liability principles); Schierts v. City of Brookfield, 868 F.

Supp. 2d 818, 821-22 (E.D. Wis. 2012) (same); Menghi v. Hart, 745 F. Supp. 2d 89, 99

(E.D.N.Y. 2010) aff'd, 478 F. App'x 716 (2d Cir. 2012) (same); Margan v. Niles, 250 F. Supp. 2d

63, 75 (N.D.N.Y. 2003) (applying vicarious liability theory); see also English v. Parker, No.

6:09-CV-1914-ORL-31, 2011 WL 1842890, at *5 (M.D. Fla. May 16, 2011) (suggesting but not

holding that municipality liability for DPPA claim is based on theory of respondeat superior).

       In this District, the analysis has been mixed. In several cases, it has been suggested, but

not expressly held, that for DPPA claims municipal liability for an employee’s actions is based



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on theories of vicarious liability. See Traub v. City of Saint Paul, No. CIV. 13-3017 MJD/JJK,

2014 WL 2881484, at *4 (D. Minn. June 25, 2014) (noting that pleading had alleged no facts to

support DPPA claims for vicarious liability against municipal defendants based on actions of

employees); Metcalfe v. Priebe, No. CIV. 13-1692 RHK/JJG, 2014 WL 5106851, at *5 (D.

Minn. Oct. 10, 2014) (granting summary judgment to municipal defendant on DPPA claim after

finding that claim was based on employee officer’s access of information, the access was

justified, and that the plaintiff’s claim against the municipality was based on theory of vicarious

liability); Rasmusson v. Chisago Cnty., 991 F. Supp. 2d 1065, 1083 (D. Minn. 2014)

(suggesting, without holding, that county may be vicariously liable under the DPPA for act of its

employee). Other cases have suggested that a municipality may not be held liable solely for the

acts of an employee, but it must instead have itself acted with an improper purpose. See

Shambour v. Carver Cnty., No. CIV. 14-566 RHK/LIB, 2014 WL 3908334, at *3 (D. Minn.

Aug. 11, 2014) (dismissing DDPA claim against entity defendants on the basis that the text of

the DPPA requires showing of individual action by a defendant); Jessen v. Blue Earth Cnty., No.

CIV. 14-1065 RHK/JSM, 2014 WL 5106870, at *4 (D. Minn. Oct. 10, 2014) (opining that

county defendant could not be liable for DPPA claim on theory of vicarious liability as the

DPPA requires that a defendant itself have acted to be liable).

       Assuming only for the sake of argument that the City Defendants’ potential liability for

the accesses by the Appealing Defendants is based on a theory of vicarious liability, the

preclusion on discovery regarding Plaintiff’s claims against the Appealing Defendant’s would

similarly preclude discovery against the City Defendants.

       However, even if Plaintiff’s claims against the City Defendants would require a showing

that the City Defendants themselves acted with an improper purpose, the Court still concludes



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that the circumstances of the present case support the entry of a stay on discovery concerning

Plaintiff’s claims against the City Defendants. First, even discovery directed to the independent

knowledge or purposes of the City Defendants will require some discovery into the actions and

knowledge of the Appealing Defendant employees. Further, at the motions hearing, the parties

also represented to the Court that, in addition to the question of whether the Appealing

Defendants are each entitled to qualified immunity, there are additional issues being raised

before the Eighth Circuit Court of Appeals in the Interlocutory Appeal. (See September 3, 2015,

Motions Hearing, Digital Recording at 2:03:45 p.m.). Those additional issues certainly may be

expected to also overlap with issues implicated by Plaintiff’s direct claims against the City

Defendants. As such, allowing discovery against the City Defendants would run counter to the

prohibition on allowing discovery against the Appealing Defendants before it has been

conclusively determined whether they are entitled to qualified immunity. See Harlow, 457 U.S.

at 818 (“Until this threshold [qualified] immunity question is resolved, discovery should not be

allowed.”).

             In light of the foregoing, the Court will DENY Plaintiff’s Motion to Compel, [Docket

No. 239], to the extent Plaintiff asks the Court to compel discovery responses from the City

Defendants. 7

       II.      THE CITY AND APPEALING DEFENDANTS’                                            MOTION          FOR       A
                PROTECTIVE ORDER TO STAY, [Docket No. 242]

             The City Defendants and the Appealing Defendants also move the Court for an order

staying all discovery including of all other Defendants besides them pending a ruling by the

Eighth Circuit on the Interlocutory Appeal.



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    The Court, therefore, also denies necessarily the motion to the extent Plaintiff requests an award of attorneys’ fees.


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   A. Standard of Review

       Rule 26(c) of the Federal Rules of Civil Procedure provides that district courts may stay

discovery upon a showing of good cause. Fed. R. Civ. P. 26(c); TE Connectivity Networks, Inc.

v. All Systems Broadband, Inc., No. 13-cv-1356 (ADM/FLN), 2013 WL 4487505, at *1 (D.

Minn. Aug. 20, 2013). The power of a district court to stay discovery in an action pending on its

docket is “incidental to the power inherent in every court to control the disposition of the causes

on its docket with economy of time and effort for itself, for counsel, and for litigants.” Skidmore

v. ACI Worldwide, Inc., 2008 WL 4186247, at *1 (D. Neb. Sept. 9, 2008) (citing Landis v.

North Am. Co., 299 U.S. 248, 254 (1936); see also Lockyer v. Mirant Corp., 398 F.3d 1098,

1109 (9th Cir. 2005) (“A district court has discretionary power to stay proceedings in its own

court under Landis.”); Capitol Indem. Corp. v. Haverfield, 218 F.3d 872, 874 (8th Cir. 2000).

       However, a party who seeks a stay must demonstrate hardship or inequity attributable to

being forced to move forward if there is a fair possibility that the requested stay will

disadvantage someone else. Lockyer, 398 F.3d at 1109; Jones v. Clinton, 72 F.3d 1354, 1364

(8th Cir. 1996) (“Traditionally, an applicant for a stay has the burden of showing specific

hardship or inequity if he or she is required to go forward.”). “Accordingly, the court must

balance the consequences of imposing a stay on the opposing party against the consequences of

proceeding on the movant.” Skidmore, 2008 WL 4186247 (citing Jones, 72 F.3d at 1365).

       Federal courts have considered various factors when determining whether a stay is

appropriate in a particular case, including whether: (1) the movant is likely to succeed on the

merits; (2) the movant will suffer irreparable injury unless the stay is granted; (3) substantial

harm will come to other interested parties; and (4) the stay will do no harm to the public interest.

James River Flood Control Ass'n v. Watt, 680 F.2d 543, 544 (8th Cir. 1982). However, generally



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the decision is practical and left largely within the district court’s discretion. TE Connectivity

Networks, 2013 WL 4487505, at *2.

   B. Analysis

       To the extent that the City and Appealing Defendants’ motion seeks a stay as to

discovery concerning Plaintiff’s claims against them, the Court’s reasoning supporting the denial

of Plaintiff’s motion to compel likewise supports granting limited a motion to stay discovery.

Accordingly, to the extent that the City and Appealing Defendants’ Motion for a Protective

Order to Stay, [Docket No. 242], seeks a stay of any discovery by any party concerning

Plaintiff’s claims against the City Defendants and the Appealing Defendants, the Court will

GRANT the motion in part.

       However, the City and Appealing Defendants also seek a stay of discovery as to

Plaintiff’s claims against all other Defendants besides them as well. Accordingly, the Court must

still address whether the City and Appealing Defendants have carried their burden to prove the

necessity for such a far reaching stay.

       The Court need not address each of the factors identified in James River Flood Control,

supra, at length in determining whether to exercise its discretion to grant a stay of all discovery.

The undersigned addresses the most pertinent of the factors below.

       Irreparable Harm

       The City and Appealing Defendants argue that they will suffer harm in the form of

having to make duplicative discovery efforts in the event that the Interlocutory Appeal is denied

and that the Appealing Defendants would, in that event, then need to obtain discovery which

may have already been produced as to the other Defendants. In general, the monetary and time

costs of litigation are not considered irreparable harm. See E.E.O.C. v. Consol. Freightways



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Corp. of Delaware, 312 B.R. 657, 660 (W.D. Mo. 2004) (“[C]ourts generally do not find

irreparable harm based on litigation expenses alone.”) (citing E.E.O.C. v. Rath Packing Co., 787

F.2d 318, 325 (8th Cir. 1986)).

        In addition, the entry of a stay concerning discovery as to Plaintiff’s claims against the

City Defendants and the Appealing Defendants would not prevent those Defendants from

informally attending and auditing the depositions concerning Plaintiff’s claims against the other

remaining County and Individual Defendants. This would permit the City and Appealing

Defendants to make a well informed decision as to what supplemental discovery, if any, they

might choose to do in the event the Interlocutory Appeal is denied. Indeed, this is not a novel

suggestion. Another court dealing with a multi-party case has also approved a one-sided stay

that allowed the parties against whom discovery had been stayed to informally participate in

discovery concerning the other parties against whom discovery had not been stayed. See United

States v. Kramer, 770 F. Supp. 954, 961 (D.N.J. 1991) (noting with approval settlement process

in which discovery against third-party defendants would be stayed, but which would allow the

third-party    defendants     to   voluntarily     engage     in   informal    discovery     with    primary

plaintiffs/defendants without having to undertake burdens of full-fledged discovery). Because the

City Defendants and Appealing Defendants could voluntarily and informally attend depositions

concerning Plaintiff’s claims against the remaining County and Individual Defendants, the City

and Appealing Defendants would have the benefits of the previously conducted discovery and

could obtain any necessary remaining discovery that had not already been obtained through

targeted and therefore very cost effective supplemental depositions. 8



8
  Indeed, the Court is hard pressed to discern and the City Defendants and Appealing Defendants have not in any
specific way explained how discovery on Plaintiff’s claims against the other County and Individual Defendants
would be material to Plaintiff’s claims against the City and Appealing Defendants because there has been little

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        Accordingly, the Court concludes that the City and the Appealing Defendants have not

shown that they would suffer any irreparable harm if the Court does not grant a stay of all

discovery.

        Harm to Other Parties

        The City and Appealing Defendants do not address this factor. The Court concluded

above that the City and Appealing Defendants have not shown that they would suffer any

irreparable harm in the absence of a stay on all discovery in the present case, and since the

Plaintiff’s claims against the County and remaining Individual Defendants are largely

independent of he claims against the City and Appealing Defendants, staying discovery on

Plaintiff’s claims against other Defendants would create disruption and undue delay for those

other claims not outweighed by any potential harm to the City and Appealing Defendants.

Accordingly, the City and Appealing Defendants have not carried their burden to demonstrate

that the balance of the harms weighs in favor of granting a stay as to all other discovery.

        Harm to the Public Interest

        The City and the Appealing Defendants also do not address this factor. Accordingly, the

Court cannot conclude that the City and Appealing Defendants have carried their burden to prove

that granting a stay as to all other discovery would avoid harm to the public interest.

        Accordingly, the Court concludes that the City and the Appealing Defendants have failed

to carry their burden to establish the need for a stay on all other discovery in the present case.

        Therefore, the Court will DENY the City and Appealing Defendants’ Motion for a

Protective Order to Stay, [Docket No. 242], to the extent the motion seeks a stay of all other

discovery that is not related to Plaintiff’s claims against the City and the Appealing Defendants.


demonstrated to date to suggest or show that there was any significant, if any, concerted action between the City
Defendants and the County Defendants.

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   III.      COUNTY DEFENDANTS’ MOTION TO STAY AND/OR SEVER, AND FOR
             A PROTECTIVE ORDER, [Docket No. 256].

          The County Defendants ask the Court to sever Plaintiff’s claims against them or, in the

alternative, to stay all discovery pending resolution of the Interlocutory Appeal. The County

Defendants also seek a protective order that sets the location of the depositions of the Crow

Wing County Rule 30(b)(6) deponents in Crow Wing County.

          A. Stay of All Discovery

          The Court’s reasoning denying the City and Appealing Defendants’ motion for a stay of

all discovery applies equally to the County Defendants’ motion to the extent the motion seeks a

stay of all discovery. Accordingly, the Court will DENY the County Defendants’ Motion to Stay

and/or for a Protective Order, [Docket No. 256], to the extent the motion seeks a stay of all

discovery pending the resolution of the Interlocutory Appeals.

          B. Severance

          At the motion hearing, the County Defendants indicated that, in the event the Court

denied the motions to stay all discovery, the denial would, as a practical matter moot their

motion to sever the claims against them. (See September 3, 2015, Motion Hearing, Digital

Transcript at 2:48:00 p.m.). Therefore, in light of this Court’s decision in the previous sections

denying a stay of all discovery, the Court will DENY the County Defendants’ Motion to Sever at

this time reserving for Judge Frank the issue of whether to sever the claims against the County

Defendants for the purposes of trial.

          Accordingly, the Court DENIES without prejudice, the County Defendants’ Motion to

Stay and/or Sever, and for a Protective Order, [Docket No. 256], to the extent the County

Defendants seek to sever the claims against them.




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       C. Rule 30(b)(6) Deposition

       As initially drafted, the motion of the County Defendants sought a protective order

requiring the deposition of the Crow Wing County designated Rule 30(b)(6) deponents to be

taken in Crow Wing County on a date on which both deponents and each Defendants’ attorneys

could attend. At the motion hearing, however, counsel for the County Defendants represented

that the County Defendants were only asking for a protective order with regard to the deposition

of the Crow Wing County Rule 30(b)(6) designees scheduled for August 28, 2015. (September 3,

2015, Motions Hearing at 2:31:10 p.m.).

       1. Standard of Review

       The general rule is that the deposition of an entity defendant’s Rule 30(b)(6) deponent is

to be taken at the entity’s defendant’s principal place of business. (See Webb v. Ethicon Endo-

Surgery, Inc., No. CIV. 13-1947 JRT/JJK, 2015 WL 317215, at *7 (D. Minn. Jan. 26, 2015)

(citing Dwelly v. Yamaha Motor Corp., 214 F.R.D. 537, 541 (D.Minn. 2003); Magnus Elecs.,

Inc. v. Masco Corp. of Ind., 871 F.2d 626, 630 (7th Cir. 1989)). “Courts have discretion to select

another location, though, if one party shows that there are peculiar’ circumstances favoring

depositions at a different location, such as cost, convenience, and litigation efficiency.” Id.

(citing Six W. Retail Acquisition, Inc. v. Sony Theatre Mgmt. Corp., 203 F.R.D. 98, 107

(S.D.N.Y.2001) (internal quotation marks and citation omitted).

       2. Analysis

       On the record presently before the Court, the only circumstances on which it is suggested

that the Court depart from the general rule in setting the location of the deposition of Crow Wing

County’s Rule 30(b)(6) deponent are the cost and convenience to some of the attorneys in not

having to drive from the Minneapolis/St. Paul metropolitan area to Brainerd, Minnesota, for the



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depositions. The Court concludes that such travel is not an undue burden on the parties and the

savings in cost and convenience associated with not requiring the parties’ counsel to travel is not

a peculiar circumstance that would favor departing from the general rule in setting the location of

a deposition in the present case.

        In addition, at the motions hearing, counsel for the County Defendants represented to the

Court that Baxter, Minnesota, which Plaintiff had proposed as a location to take the depositions

of Crow Wing County’s designated Rule 30(b)(6) deponents after the County Defendants had

filed their motion, is an acceptable location for the depositions at issue. (September 3, 2015,

Motions Hearing, Digital Recording at 2:30:00 p.m.-2:30:30 p.m., 2:33:00 p.m., 2:39:15 p.m.-

2:40:30 p.m.).

        Accordingly, the Court will GRANT the County Defendants’ Motion to Stay and/or

Sever, and for a Protective Order, [Docket No. 256], to the extent the County Defendants seek a

protective Order concerning the deposition of Crow Wing County’s designated Rule 30(b)(6)

deponents that were previously scheduled for August 28, 2015. 9

        A final note, it is apparent to the Court based on the parties’ statements in their briefs and

oral representations at the motions hearing, that the parties are having trouble cooperating in the

coordination of discovery depositions. Accordingly, the Court orders that the parties and their

counsel will make themselves available during the first week of every month during the

remaining discovery period for the scheduling of discovery depositions.




9
 All future depositions of any designated Rule 30(b)(6) deponents are also to be taken at or reasonably near the
designating entity’s principal place of business.


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     IV.      INDIVIDUAL DEFENDANTS’ MOTION TO SEVER AND/OR FOR A
              PROTECTIVE ORDER TO STAY, [Docket No. 263].

           The Individual Defendants 10 move the Court to sever Plaintiff’s claims against them or,

in the alternative, to stay all discovery pending resolution of the Interlocutory Appeal.

           A. Stay of All Discovery

           The Court’s reasoning denying the City and Appealing Defendants’ and the County

Defendants motions for a stay of all discovery applies equally to the Individual Defendants’

motion to the extent the motion seeks a stay of all discovery. Accordingly, the Court will DENY

the Individual Defendants’ Motion to Stay and/or for a Protective Order, [Docket No. 263], to

the extent the motion seeks a stay of all discovery.

           B. Severance

           At the motions hearing, the Individual Defendants also acknowledged that, as a practical

matter, a denial of the motions to stay all discovery would, as a practical matter, moot the portion

of their motion seeking the severance of Plaintiff’s claims against them. (September 3, 2015,

Motion Hearing, Digital Recording at 2:51:00 p.m.). Accordingly, again reserving for Judge

Frank the issue of whether to sever the claims against the Individual Defendant’s for trial, the

Court will also DENY without prejudice the Individual Defendants’ Motion to Sever and/or for

a Protective Order to Stay, [Docket No. 263], to the extent that the motion seek severance of

Plaintiff’s claims against the Individual Defendants.

     V.       CONCLUSION

           For the foregoing reasons, and based on all of the files, records, and proceedings herein,

IT IS HEREBY ORDERED:

10
  The “Individual Defendants” include only county employees Tyler Burke, Amy Edberg, Gary Guttenkauf, Ginger
Heurung, Derek Lavoy, Ilissa Ramm, Michael Triplett, Kari Turcotte, Jon Vukelich, Ryan Barnett, Shannon
Wussow, Christine Madsen, Colleen Berens, Laura Johnson, Down Choinard, Deb Nelson, and Joan Smith. None of
the individual Appealing Defendants are included in the “Individual Defendants”.

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   1. That Plaintiff’s Motion to Compel, [Docket No. 239], is DENIED, as set forth above;

   2. That the City and Appealing Defendants’ Motion for a Protective Order to Stay, [Docket

      No. 242], is GRANTED in part and DENIED in part, as set forth above;

   3. That the County Defendants’ Motion to Sever and/or Stay, and for a Protective Order,

      [Docket No. 256], is GRANTED in part and DENIED in part; as set forth above;

   4. That the Individual Defendants’ Motion to Sever and/or for a Protective order to Stay,

      [Docket No. 263], is DENIED, as set forth above; and,

   5. That the parties and their counsel shall make themselves available for the scheduling and

      taking of depositions during the first week of every month during the remaining

      discovery period; and,

   6. All future depositions of any entity Defendant’s Rule 30(b)(6) designated deponents shall

      take place at or reasonably near the principal place of business of the entity Defendant.




Dated: October 14, 2015                                    s/Leo I. Brisbois
                                                           Leo I. Brisbois
                                                           U.S. MAGISTRATE JUDGE




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